

People v Mercado (2024 NY Slip Op 50163(U))



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People v Mercado (Miguel)


2024 NY Slip Op 50163(U)


Decided on February 22, 2024


Appellate Term, First Department


Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and will not be published in the printed Official Reports.



Decided on February 22, 2024
SUPREME COURT, APPELLATE TERM, FIRST DEPARTMENT

PRESENT: Hagler, P.J., Brigantti, Perez, JJ.



570072/18

The People of the State of New York, Respondent,
againstMiguel Mercado, Defendant-Appellant.




Defendant appeals from a judgment of the Criminal Court of the City of New York, Bronx County (Steven J. Hornstein, J., at plea; Frances Y. Wang, J., at sentencing), rendered September 11, 2017, convicting him, upon his plea of guilty, of driving while intoxicated, and sentencing him, inter alia, to a fine of $750.




Per Curiam.
Judgment of conviction (Steven J. Hornstein, J., at plea; Frances Y. Wang, J. at sentencing), rendered September 11, 2017, affirmed.
The sentence was not excessive. Although defendant now claims that he is indigent, he never sought relief from the fine by way of a CPL 420.10(5) motion for resentencing (see People v Toledo, 101 AD3d 571 [2012], lv denied 21 NY3d 947 [2013]).
All concur
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
Clerk of the CourtDecision Date: February 22, 2024









